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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Divisioo

 

UNITED STATES OF AMERlCA

-vs- Case No. 2:05cr20056-07Ma

DEMONE DICKERSON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
WEDNESDAY, SEPTEMBER 7, 2005 at 3 :30 P.M. before United States Magistrate Judge Diane
K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: Septernberl,ZOOS /<O ~ % y
“/L”/'M/ ~ raw/ifr

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

‘If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to Eve days upon motion of the defendantl 18 U.S.C. § 3142(1)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judici al officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8/85) Order of Tarr\porary Detention

This document entered on the docket sheet ln compliance
with Rule Lr”_~` sr:`..i,»'or 32(|;)) FRCrP on _)__ "/ ’05

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
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Honorable Samuel Mays
US DISTRICT COURT

